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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO
                               SOUTHERN DIVISION


                                         Case No. 1:22-cv-329

                                         BRIEF OF AMERICAN COLLEGE OF
                                         EMERGENCY PHYSICIANS, IDAHO
                                         CHAPTER OF THE AMERICAN
                                         COLLEGE OF EMERGENCY
  UNITED STATES OF AMERICA,              PHYSICIANS, AMERICAN COLLEGE
                                         OF OBSTETRICIANS AND
               Plaintiff,                GYNECOLOGISTS, AMERICAN
                                         MEDICAL ASSOCIATION, SOCIETY
                    vs.                  FOR MATERNAL-FETAL MEDICINE,
                                         NATIONAL MEDICAL
  THE STATE OF IDAHO,                    ASSOCIATION, NATIONAL
                                         HISPANIC MEDICAL ASSOCIATION,
               Defendant.                AMERICAN ACADEMY OF
                                         PEDIATRICS, AMERICAN
                                         ACADEMY OF FAMILY
                                         PHYSICIANS, AND AMERICAN
                                         PUBLIC HEALTH ASSOCIATION AS
                                         AMICI CURIAE IN SUPPORT OF
                                         PLAINTIFF’S MOTION FOR A
                                         PRELIMINARY INJUNCTION
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I.      INTERESTS OF AMICI CURIAE1

        Amici curiae are leading medical and public health societies representing

physicians and other clinicians and public health professionals who serve patients in Idaho

and nationwide. They include the American College of Emergency Physicians (“ACEP”),

the leading advocate for emergency physicians; the American College of Obstetricians and

Gynecologists (“ACOG”), the nation’s leading organization of physicians who provide

health services unique to people seeking obstetric or gynecologic care; and the American

Medical Association (“AMA”), the largest professional association of physicians,

residents, and medical students in the country. Amici, their members, and their patients are

deeply affected by Idaho Code § 18-622 (the “Idaho Law”). By law and by oath, ACEP’s

members must care for all patients seeking emergency medical treatment and are united in

the belief that emergency physicians must be able to practice high quality, objective

evidence-based medicine without legislative, regulatory, or judicial interference in the

physician-patient relationship; ACOG is a leader in the effort to confront the maternal

mortality crisis in the United States and committed to ensuring access for all people to the

full spectrum of evidence-based quality reproductive health care, including emergency

abortion care.2



1
     Plaintiff consents to the filing of this brief. Defendant takes no position. Pursuant to
     Fed. R. App. P. 29(a)(4)(E) (as made applicable here by the Court’s Amended Order,
     ECF 12), counsel for amici curiae authored this brief in whole; no party’s counsel
     authored, in whole or in part, this brief; and no person or entity other than amici and
     their counsel contributed monetarily to preparing or submitting this brief. Amici’s
     mission statements can be found in their Motion for Leave to File (ECF 50).
2
     The identities and interests of each amicus are explained in more detail in amici’s
     accompanying Motion for Leave.



                                              1
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        Amici believe that all patients are entitled to prompt, complete, and unbiased

emergency health care that is medically and scientifically sound, and is provided in

compliance with the federal Emergency Medical Treatment and Active Labor Act, 42

U.S.C. § 1395dd (“EMTALA”). Amici submit this brief to highlight for the Court the

ways in which Idaho’s near-complete ban on abortion will undermine Idaho physicians’

ability to provide appropriate emergency care, will conflict with obligations imposed under

federal law, will be inconsistent with longstanding principles of medical ethics, and will

have a devastating impact on the health and safety of pregnant patients3 in the state.

II.     PRELIMINARY STATEMENT

        The Idaho Law directly interferes with federal law ensuring that all patients in

emergency settings receive medical treatment based on their individual health care needs.

For nearly four decades, EMTALA has provided the foundation for the emergency care

safety net. EMTALA requires physicians, hospitals, and other medical facilities to provide

stabilizing treatment to any patient presenting with an emergency medical condition that

has the potential to cause serious harm to the patient or that endangers their life.

Emergency treatment by definition requires physicians to act quickly, often with limited

information, to treat and stabilize the patient. Timing is essential, and patients’ conditions

can deteriorate rapidly and with little or no warning.

        The Idaho Law is unworkable in an emergency medicine setting. Well-established

clinical guidelines for the treatment of pregnant patients in emergency conditions require


3
      Amici use the term “women” and “she/her” inclusively and recognize that people with
      female anatomy who do not identify as women can also become pregnant and need
      emergency care.



                                              2
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treatment that the Idaho Law would prohibit as abortion. This arises, for example, in the

emergency department in contexts where a patient’s pregnancy is presenting urgent risks to

the pregnant patient’s life or health but where the Idaho Law would prevent medically

indicated care that includes terminating the pregnancy. Indeed, the Idaho Law goes so far

as to prevent the termination of a pregnancy in an emergency circumstance where the fetus

will otherwise not survive and where the pregnant patient’s health and life are at risk in the

absence of terminating the nonviable pregnancy. Withholding this care is directly contrary

to EMTALA’s mandate and to bedrock principles of medical ethics.               If applied to

emergency medical care, the Idaho Law would force physicians to disregard their patients’

clinical presentations, their own medical expertise and training, and their obligations under

EMTALA—or risk criminal prosecution. By criminalizing necessary, medically indicated

care in emergency situations, the Idaho Law will have devastating consequences for

patients.

        One central danger of the Idaho Law is delay in care. The law disregards standard

medical practice and purports to force physicians to delay care until a patient’s medical

condition deteriorates to the point of becoming life-threatening. Delays in medical care

can be traumatic and devastating to patients, and can make it impossible to provide the

optimal treatment for preventing a harmful, or sometimes fatal outcome. For example, if

the Idaho Law is allowed to require physicians to delay treatment until the patient’s life is

in immediate danger, patients presenting with ectopic pregnancies will be at risk for

rupture and massive internal bleeding, requiring urgent surgery and risking death, because

under the Idaho Law physicians may not feel they can prescribe methotrexate—the most




                                              3
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commonly indicated drug for treating ectopic pregnancy—to expel the nonviable

pregnancy. An ectopic pregnancy is always life threatening. An ectopic pregnancy occurs

when a fertilized egg implants and grows in a location that cannot support the pregnancy.

As the pregnancy grows, the structure where it is implanted can burst, or rupture, causing

major internal bleeding and requiring emergency surgery.4 Under the Idaho Law, a patient

risks becoming septic because physicians will be compelled to wait until signs of infection

are present when a patient is suffering from a premature rupture of the amniotic sac that is

incompatible with continuing a pregnancy to term. Patients with uterine hemorrhage will

be forced to wait until their blood loss is deemed sufficient to elevate their status firmly

into “life threatening” territory under the Idaho Law, and even at that point, physicians will

only have an affirmative defense to a felony charge, forcing them to risk the reputational,

professional, and financial burdens of being arrested, indicted, and prosecuted for

following federal law and their professional obligations by saving the patient’s life. In

providing emergency care, physicians must act swiftly to implement a treatment plan based

on their best medical judgment—judgment which necessarily has been honed by over a

decade of medical education, training, and fellowship and must follow evidence-based

guidelines and ethical obligations to meet the patient’s individual health care needs. By

forcing physicians to delay or forego care that they have been trained and are ethically

required to provide, the Idaho Law creates substantial risks for patients and physicians

alike.



4
    ACOG, Facts are Important: Understanding Ectopic Pregnancy, available at:
    https://www.acog.org/advocacy/facts-are-important/understanding-ectopic-pregnancy.



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         Even under the best of circumstances, pregnancy and childbirth impose significant

physiological changes that can exacerbate underlying preexisting conditions and can

severely compromise health. 5        When those risks create emergency situations that

jeopardize the patient’s health and life, the patient is entitled to and should receive health-

and life-saving medical care like anyone else in this country, and the physicians who

provide that care consistent with clinical best practices and longstanding federal law should

not be criminally sanctioned. 6 In short, the Idaho Law is not just bad law, it is bad

medicine, particularly in light of the nation’s maternal health crisis.7

III.     ARGUMENT

         A.      The Idaho Law Is Contrary to the Legal and Clinical Standards for
                 Emergency Medicine.

                 1.     Caring for Pregnant Patients is an Essential Component of
                        Emergency Medicine.

5
       See e.g. ACOG Practice Bulletin No. 190, Gestational Diabetes Mellitus (Feb. 2018);
       ACOG Practice Bulletin No. 222, Gestational Hypertension and Preeclampsia (Dec.
       2018); ACOG Practice Bulletin No. 183, Postpartum Hemorrhage (Oct. 2017);
       ACOG Obstetric Care Consensus, Placenta Accreta Spectrum (July 2012, reaff’d
       2021); ACOG Practice Bulletin No. 198, Prevention and Management of Obstetric
       Lacerations at Vaginal Delivery (Sept. 2018, reaff’d 2022); ACOG Clinical
       Consensus No. 1, Pharmacologic Stepwise Multimodal Approach for Postpartum Pain
       Management (Sept. 2021).
6
       See generally ACOG Committee Opinion No. 815, Increasing Access to Abortion
       (Dec. 2020), available at: https://www.acog.org/clinical/clinical-guidance/committee-
       opinion/articles/2020/12/increasing-access-to-abortion.
7
       See Emily E. Petersen et al., Vital Signs: Pregnancy-Related Deaths, Untied States,
       2011-2015, and Strategies for Prevention, 13 States, 2013-2017, 68(18) MORBIDITY
       AND MORTALITY WKLY. REP. 423-429 (May 10, 2019); Roosa Tikkanen et al.,
       Maternal Mortality and Maternity Care in the United States Compared to 10 Other
       Developed Countries, THE COMMONWEALTH FUND,
       https://www.commonwealthfund.org/publications/issue-briefs/2020/nov/maternal-
       mortality-maternity-care-us-compared-10-countries (Nov. 18, 2020), (“The U.S. has
       the highest maternal mortality rate among developed countries.”)



                                               5
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        “Emergency medicine is the medical specialty dedicated to the diagnosis and

treatment of unforeseen illness or injury.”8 Emergency care is not limited to treatment

provided in the emergency department (“ED”), but is practiced in a broad variety of

settings both within the hospital and in other locations.9 It includes “initial evaluation,

diagnosis, treatment, coordination of care among multiple clinicians or community

resources, and disposition of any patient requiring expeditious medical, surgical, or

psychiatric care.”10 Emergency physicians identify and treat conditions when patients first

present, and it is emergency physicians who often make the difficult determination of what

care is necessary in a time-sensitive situation, including by involving specialists. Because

of the complexities inherent in most health emergencies, physicians must use their best

medical judgment—honed through years or decades of medical education, training, and

experience—to provide evidence-based care, consistent with clinical guidance, and

responsive to the patient’s individualized needs.      For pregnant patients, that means




8
     ACEP, Policy Statements, Definition of Emergency Medicine (Jan. 2021), available at:
     https://www.acep.org/patient-care/policy-statements/definition-of-emergency-
     medicine/ (“ACEP, Definition of Emergency Medicine”).
9
     Id.; see also Clarifying Policies Related to the Responsibilities of Medicare-
     Participating Hospitals in Treating Individuals with Emergency Medical Conditions,
     68 Fed. Reg. 53221, 53229 (Nov. 10, 2003) (codified at 42 C.F.R. 413, 482, and 489)
     (“CMS believes that EMTALA requires that a hospital's dedicated emergency
     department would not only encompass what is generally thought of as a hospital's
     ‘emergency room,’ but would also include other departments of hospitals, such as
     labor and delivery . . . ”).
10
     ACEP, Definition of Emergency Medicine.



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emergency care may be provided in the ED or in labor and delivery units, by obstetrician-

gynecologists, and by any number of other medical specialists.11

       In an emergency, speed is critical. It is axiomatic that rapid treatment improves

patient outcomes, while delays increase the risk of complications, permanent injury, or

death. 12 Rapid treatment is a core ethical responsibility for physicians in emergency

scenarios: “Patients often arrive at the emergency department with acute illnesses or

injuries that require immediate care . . . . emergency physicians have little time to gather

additional data, consult with others, or deliberate about alternative treatments. Instead,

there is a presumption for quick action guided by predetermined treatment protocols.”13

This includes treatment of pregnancy-related emergencies, such as ectopic pregnancy,

where “[e]arly diagnosis and treatment are paramount in reducing maternal morbidity and

mortality.”14




11
     Id. (“Emergency medicine is not defined by location but may be practiced in a variety
     of settings including, but not limited to, hospital-based and freestanding emergency
     departments (EDs), urgent care clinics, observation medicine units, emergency
     medical response vehicles, at disaster sites, or via telehealth.”); see also ACOG
     Committee Opinion No. 667, Hospital-Based Triage of Obstetric Patients (July 2016,
     reaff’d 2020).
12
     Robert W. Neumar, The Zerhouni Challenge: Defining the Fundamental Hypothesis of
     Emergency Care Research. 49(5) ANN. EMERGENCY MED. 696–697 (May 2007).
13
     ACEP, Code of Ethics for Emergency Physicians, at 4 (Jan. 2017) (“ACEP, Code of
     Ethics”).
14
     Katherine Tucker et al. Delayed Diagnosis and Management of Second Trimester
     Abdominal Pregnancy, BMJ CASE REP. 1, 1 (Aug. 2017); see also The Diagnosis of
     Ectopic Pregnancy, 12018/021 HEALTHCARE SAFETY INVESTIGATION BRANCH, at
     para. 3.2.1 (Mar. 2020) (“A delay in or failure to diagnose ectopic pregnancy can be
     life-threatening to women.”).



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       In virtually every shift (and often multiple times per shift), emergency physicians

see pregnant patients presenting with abdominal pain, vaginal bleeding, or other
                            15
pregnancy-related issues.        While most do not require emergency intervention,

emergencies involving pregnant patients are frequent and can quickly become dangerous

with little to no warning without immediate intervention. For example, some of the issues

pregnant patients may present with include:

          Ectopic pregnancy, or pregnancy that occurs outside the uterine cavity,
           in which the fertilized egg cannot survive and the growing tissue may
           cause life-threatening bleeding if left untreated. If identified early, this
           condition can be treated with surgery or methotrexate, but severe cases
           require immediate surgical intervention;16

          Prelabor rupture of membranes, where the amniotic sac ruptures
           before fetal viability, potentially leading to serious maternal infection
           and sepsis;17

          Miscarriage or early pregnancy loss (“EPL”), which is extremely
           common, occurring in approximately 10% of clinically recognized
           pregnancies. 18 500,000–900,000 women seek care in the ED with
           miscarriage-related concerns each year.19



15
     In 2019, over 3.5 million women visited EDs for reasons related to pregnancy, with an
     additional 216,000 pregnant women visiting for reasons not primarily related to their
     pregnancy. Healthcare Cost and Utilization Project, Emergency Department and
     Inpatient Utilization and Cost for Pregnant Women: Variation by Expected Primary
     Payer and State of Residence, 2019, at 30 (Dec. 14, 2021).
16
     ACOG Practice Bulletin No. 193, Tubal Ectopic Pregnancy, at e91 (Mar. 2018,
     reaff’d 2022).
17
     ACOG Practice Bulletin No. 217, Prelabor Rupture of Membranes, at e80 (Mar.
     2020).
18
     ACOG Practice Bulletin No. 200, Early Pregnancy Loss, at e197 (Nov. 2018, reaff’d
     2021).
19
     Carolyn A. Miller et al., Patient Experiences With Miscarriage Management in the
     Emergency and Ambulatory Settings, 134(6) OBSTETRICS AND GYNECOLOGY, 1285,
     1285 (Dec. 2019); Lyndsey S. Benson et al., Early Pregnancy Loss in the Emergency


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           These are just a few examples. In the American Board of Emergency Medicine’s

Model of Clinical Practice of Emergency Medicine, the definitive source and guide to the

core content found on emergency physicians’ board examinations, nearly all conditions

listed in the section devoted to “Complications of Pregnancy”20 are graded as typically

“critical” or “emergent,” meaning that they “may progress in severity or result in

complications with a high probability for morbidity if treatment is not begun quickly.”21

The Idaho Law shows no understanding of the nature of emergency care that pregnant

patients require, or of the impact of timing on patient care. It willfully disregards what it

means to pregnant patients—and their doctors—to be told that, alone among all patients

seeking emergency care and contrary to medical guidelines and ethics, they must wait until

their life is in jeopardy to receive treatment.

                  2.     EMTALA Enshrines Physicians’ Commitment to Treating and
                         Stabilizing Patients.

           Because of the unique nature of emergency medicine, federal law has, for over 35

years, required nearly all physicians and hospitals to meet a minimum standard of care. As

described in the Complaint, that standard applies equally to emergency care during

pregnancy.22 EMTALA defines an emergency medical condition as “a medical condition


     Department, J. AM. C. OF EMERGENCY PHYSICIANS OPEN, 1, 1–2 (2021) (“Benson,
     EPL”).
20
     Michael S. Beeson et al., The Model of the Clinical Practice of Emergency Medicine,
     AM. BOARD OF EMERGENCY MED. (2019), available at:
     https://www.abem.org/public/resources/em-model.
21
     Id.
22
     See Compl. ¶¶ 19–24. All physicians and hospitals participating in government
     funded health care programs are subject to EMTALA—and only about 1% of non-
     pediatric physicians have opted out of Medicare. Nancy Ochieng et al., How Many


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manifesting itself by acute symptoms of sufficient severity (including severe pain) such

that the absence of immediate medical attention could reasonably be expected to result in

placing the individual’s health . . . in serious jeopardy, serious impairment to bodily

functions, or serious dysfunction of bodily organs.”23 EMTALA requires that physicians

provide treatment to any patient who presents with an emergency condition “until the

emergency medical condition is resolved or stabilized.”24 This mandate requires no more

(and often less) than what physicians are taught to view as their ethical and professional

responsibility. Faced with a medical emergency, intervening and stabilizing the patient—

what EMTALA requires—is the bare minimum care that physicians are ethically bound to

provide. Pregnant patients are equally entitled to the federal standard of care as any other

patient under EMTALA.

       EMTALA does not specify the particular treatment that should be provided in a

given situation. Instead, when a physician determines that an individual has an emergency

medical condition, they must provide “such treatment as may be required to stabilize the

medical condition.” 25    EMTALA properly defers to the medical judgment of the

physician(s) responsible for treating the patient to determine how best to achieve the

designated objective of stabilization.   That decision making, in turn, is informed by


     Physicians Have Opted-Out of the Medicare Program? KFF (Oct. 22, 2020), available
     at: https://www.kff.org/medicare/issue-brief/how-many-physicians-have-opted-out-of-
     the-medicare-program.
23
     Examination and Treatment of Emergency Medical Conditions and Women in Labor,
     42 U.S.C. § 1395dd(e) (1986).
24
     ACEP, EMTALA Fact Sheet, available at: https://www.acep.org/life-as-a-
     physician/ethics--legal/emtala/emtala-fact-sheet/.
25
     42 U.S.C. § 1395dd(b)(1)(A) (1986) (emphasis added).



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established clinical guidelines, developed and regularly updated according to the latest

advancements in medical science. Just as EMTALA does not specify particular treatments,

it also does not allow for physicians to withhold specific treatments from particular

patients for non-medical reasons.     Rather, if a treatment is “required to stabilize the

medical condition,” it must be provided—full stop.26

           In rendering emergency care, amici’s members do not have the option to choose

which patients to treat or not to treat—and have no control over the injuries or

complications with which their patients will present. When faced with a pregnant patient

suffering from an emergency medical condition, in order to comply with EMTALA,

clinicians must promptly provide stabilizing treatment to that pregnant patient.      It is

essential for physicians providing emergency care to have access to the full suite of

interventions and treatments, consistent with evidence-based clinical guidelines—and they

must be able to act without hesitation. Given the risks associated with being pregnant,27

emergency care providers regularly treat pregnant patients for the urgent medical

conditions described above, as well as other trauma that may implicate the pregnancy’s




26
     Id.
27
     The U.S. mortality rate associated with live births was a staggering 23.8 per 100,000
     live births in 2020, up from 20.1 in 2019. Donna Hoyert, Maternal Mortality Rates in
     the United States, 2020, NAT’L CTR. FOR HEALTH STAT. (Feb. 2022). Pre-existing
     conditions and comorbidity with other illnesses further increase the likelihood of
     pregnancy complications. See, e.g., Cleveland Clinic, High-Risk Pregnancy, available
     at: https://my.clevelandclinic.org/health/diseases/22190-high-risk-pregnancy
     (describing how preexisting conditions exacerbate the risks of the pregnancy).



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safety or viability, like car accidents.28 Hospital-based obstetric units collaborate with EDs

because “labor and delivery units frequently serve as emergency units for pregnant

women.” 29        Hospitals structure these collaborative treatment efforts by establishing

protocols for cooperation and triage between delivery units and EDs, as well as for the

appropriate stabilization of pregnant patients in accordance with EMTALA. 30 Because

pregnancy termination is part of the medically indicated treatment to stabilize patients in

certain emergency scenarios, physicians—to comply with EMTALA and the principles of

medical ethics—must, and do, consider abortion a necessary treatment option.

           The American public places trust in physicians to provide emergency care

consistent with EMTALA and medical guidelines. A recent study underscored that 93% of

those polled “trust an emergency physician to provide medical care in the event [they]

went to the emergency department.” 31 89% of adults also consider 24/7 access to an

emergency department to be just as essential to their communities as fire departments or

water utility services.32 And they place particular trust in a physician to lead care in the

ED, especially for more severe injuries and illnesses.33 This trust is the byproduct of the

demonstrated expertise of countless clinicians providing stabilizing medical care pursuant

28
     Kimberly Kilfoyle et al., Nonurgent and Urgent Emergency Department Use During
     Pregnancy: An Observational Study 216(2) AM. J. OF OBSTETRICS AND GYNECOLOGY,
     1, 2 (Feb. 2017).
29
     See ACOG Committee Opinion No. 667, Hospital-Based Triage of Obstetric Patients
     (July 2016, reaff’d 2020), supra Note 11.
30
     Id.
31
     ACEP, Public Opinion on the Value of Emergency Physicians 1, 17 (Aug. 26, 2021).
32
     Id. at 10.
33
     Id. at 17–18.



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to EMTALA with a singular dedication to treating any patient who presents with any

emergency medical condition. Continuing to provide prompt emergency care based on

sound medical standards is paramount to the life and health of patients, and the trust they

place in their physicians.

               3.      The Idaho Law Conflicts with the Care EMTALA Requires
                       Physicians to Provide.

       The Idaho Law unnecessarily and profoundly conflicts with a physician’s ability to

provide EMTALA-mandated stabilizing care.           The law is staggeringly broad.         It

criminalizes any action that has the effect of “intentionally terminat[ing] the clinically

diagnosable pregnancy of a woman.” 34 It forces physicians to delay or deny care,

endangering patients’ health and undermining patients’ trust and confidence in the

availability and fairness of emergency care.

       In emergency medicine, what Idaho now defines as criminal abortion has long been

understood as a necessary, standard, and evidence-based medical treatment. As medically

defined, abortion is a medical intervention provided to individuals who need to end the

medical condition of pregnancy. Abortion includes the administration of medication to

women already experiencing a miscarriage to complete expulsion of pregnancy tissue,

including an embryo or fetus.35 Abortion includes the removal of an embryo, fetus, and

potentially a uterus as the result of infection arising from the preterm premature rupture of

membranes. An abortion is the critical treatment option for an ectopic pregnancy, which



34
     Idaho Code § 604(1).
35
     ACOG Practice Bulletin No. 200, Early Pregnancy Loss, at e197 (Nov. 2018, reaff’d
     2021), supra Note 18.



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always involves a nonviable pregnancy.36 And an abortion is the necessary treatment in

the event of uncontrolled bleeding from, for example, placental abruption or an ongoing

miscarriage, even when fetal cardiac activity may still be detectable. In these and many

similar circumstances, what Idaho Law defines as the criminal felony of abortion is—and

has long been understood as—a standard, essential component of emergency medical care.

If the Idaho Law takes effect, it will criminalize nearly all medical use of abortion, even in

emergency situations where the embryo or fetus is nonviable, and endanger the lives,

health, and mental and emotional well-being of patients and their families.37

       In doing so, the Idaho Law is directly contrary to the standards of emergent care,

including those set by federal law.      Where abortion is the medically indicated and

necessary treatment to stabilize a pregnant patient suffering an emergency health issue, the

Idaho Law compromises the patient-physician relationship and makes providing that

stabilizing treatment a crime.      It also requires physicians to act contrary to their

professional ethics and to the professional medical judgment they are compelled to use

when determining the appropriate stabilizing treatment under EMTALA. In effect, the

Idaho Law requires physicians to disregard the best interests of the presenting patient and

directly interferes with a physician’s ability to evaluate and provide medically indicated

36
     ACOG, Facts are Important: Understanding Ectopic Pregnancy, supra Note 4; see
     also P.J. Hajenius et. al. Interventions for Tubal Ectopic Pregnancy, COCHRANE
     DATABASE OF SYSTEMATIC REVIEWS 1, 1, 2 (2007), (the recommended treatment for
     ectopic pregnancy is surgery or the administration of methotrexate).
37
     Letter from The Idaho Coalition for Safe Reproductive Health Care, available at:
     https://www.postregister.com/idaho-coalition-for-safe-reproductive-health-care-
     letter/pdf_4a332f4a-5e88-50ca-8ed6-046896b19dd9.html (2022) (an open letter
     signed by hundreds of Idaho physicians describing the dangerous effects of the Idaho
     Law on emergency care for pregnant patients).



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treatment. By criminalizing the provision of safe, essential, and life-saving care, the Idaho

Law actively discourages physicians from employing sound medical judgment as

mandated by EMTALA in favor of ascertaining their criminal liability and gathering

evidence to exonerate themselves.

        The Idaho Law’s “life of the mother” affirmative defense is inadequate to protect

patients and their providers or to mitigate the law’s harm. It is too narrow to apply to real-

life medical situations. It disregards the speed with which a complication may transition

from “health-threatening” to “life-threatening,” the difficulty of making that determination,

and the devastating physical and emotional consequences of forcing physicians to tell

patients and their families that they cannot receive urgently needed treatment unless and

until they are close to death.38 No clinical bright line defines when a patient’s condition

becomes life-threatening. At what point does the condition of a pregnant woman with a

uterine hemorrhage deteriorate from health-threatening to life-threatening? How many

blood units does she have to have lose? One? Two? Five? How fast does she have to be

bleeding? Soaking through two pads an hour? Three? How low does her blood pressure

need to be? 90 mm HG over 60 mm HG? 80 over 50? And at what point in time does the

condition of a pregnant woman with sepsis from a uterine infection deteriorate from

health-threatening to life-threatening? If the standard treatment of IV fluids does not stop

her blood pressure from dropping, is her condition now life-threatening? Is it when she is


38
     Even if the affirmative defense covered EMTALA’s mandate to provide stabilizing,
     but not necessarily life-saving, care, it would still be inadequate. Physicians’ abilities
     to comply with EMTALA are significantly obstructed via the burden of raising an
     affirmative defense, the accompanying burden and expense of prosecution defense,
     and the risk of conviction and loss of license.



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unconscious and any further treatment has become more complex and fraught with risk and

further complications? It is physicians in the room with the patient, not lawmakers or

courts, who are uniquely equipped to make these decisions. There is simply no viable way

to apply a “life-threatening” test in emergency medicine.

         Life and health exist on a fragile and shifting continuum and in emergent situations

physicians must and do act quickly to preserve it. They cannot be expected, and should

not be compelled, to delay stabilizing treatment until a legislatively imagined but

medically nonexistent line has been crossed.

                4.      The Idaho Law Will Have a Disproportionately Negative Impact on
                        Rural, Minoritized, and Poor Pregnant Patients

         Pregnancy and childbirth can pose significant health risks and complications. Even

under the best of circumstances, conditions of pregnancy can exacerbate underlying

preexisting conditions and can severely compromise health.          These risks can create

emergency situations in which a pregnant person’s health and life are in the balance. The

Idaho Law only exacerbates these health concerns and does so amidst a broader maternal

health crisis in the country.

         The consequences of the Idaho Law will be especially devastating for underserved

populations, including patients living in rural areas, minoritized populations, and pregnant

patients with low incomes. As a result of structural inequities and social determinants,

these     populations are “more likely to face barriers in accessing routine health care

services,” including to prenatal care.39 ED use has been “consistently increasing,” with use



39
     Benson, EPL, at 2.



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by low-income populations and people of color rising at the highest rates. 40 This is

exacerbated by the lack of access in Idaho to maternity health care. 41 In light of the

socioeconomic constraints these populations already face in accessing health care services,

EDs and “emergency physicians have been given a unique social role and responsibility to

act as health care providers of last resort for many patients who have no other ready access

to care.”42

           The nearly half a million (or 29.4% of) Idaho residents living in rural areas are

particularly endangered by this law.43 “[R]ural Americans are more likely to be living in

poverty, unhealthy, older, uninsured or underinsured, and medically underserved.”44 Rural

hospitals and EDs are “the safety net” for rural Americans, including rural pregnant

patients. 45 Rural women are “more likely to be poor, lack health insurance or rely

substantially on Medicaid and Medicare” and “must travel longer distances to receive




40
     Id.
41
     March of Dimes, Maternity Care Desert: Idaho (June 2021) available at:
     https://www.marchofdimes.org/peristats/data?reg=99&top=23&stop=641&lev=1&sle
     v=4&obj=9&sreg=16 (44.2% of Idaho counties are “maternity care deserts” and over
     100,000 Idaho women live in counties with little or no maternal care).
42
     ACEP, Code of Ethics, at 4; see also Benson, EPL, at 7 (EDs play a “vital role” in
     “caring for those who are socioeconomically vulnerable”).
43
     U.S. Census Bureau, 2010 Urban 2010 and Rural Classification and Urban Area
     Criteria (Oct. 8, 2021), available at: https://www.census.gov/programs-
     surveys/geography/guidance/geo-areas/urban-rural/2010-urban-rural.html.
44
     CMS, CMS Rural Health Strategy, at 2 (2018) ), available at:
     https://www.cms.gov/About-CMS/Agency-Information/OMH/Downloads/Rural-
     Strategy-2018.pdf.
45
     Anthony Mazzeo et. al, Delivery of Emergency Care in Rural Settings, ACEP 1, 1
     (2017).



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care.”46 Pregnant rural patients accordingly are less likely to seek prenatal care,47 and the

initiation of prenatal care in the first trimester is lower for rural pregnant women and girls

compared with those in suburban areas.48 It is therefore not surprising that “rural women

experience poorer maternal outcomes compared to their non-rural counterparts, including

high pregnancy-related mortality.”49

           Women of color similarly will be disproportionately harmed by the Idaho Law.

People of color and people with low incomes generally have worse access to care and

higher rates of ED visits.50 Pregnant women of color are also less likely to receive prenatal

care, resulting in an increased risk for complex health issues occurring in pregnancy.51 As

a result, women of color experience higher rates of severe maternal morbidity and are more




46
     ACOG Committee Opinion No. 586, Health Disparities in Rural Women, at 2 (Feb.
     2014, reaff’d 2021).
47
     Id.
48
     Id.
49
     CMS, Advancing Rural Maternal Health Equity, at1 (May 2022), available at:
     https://www.cms.gov/files/document/maternal-health-may-2022.pdf (“CMS,
     Advancing Rural Maternal”).
50
     2019 National Healthcare Quality and Disparities Report, AGENCY FOR HEALTHCARE
     RESEARCH AND QUALITY, A22 (Dec. 2020), available at:
     https://www.ahrq.gov/sites/default/files/wysiwyg/research/findings/nhqrdr/2019qdr-
     cx061021.pdf; Trends in the Utilization of Emergency Dep’t Servs., 2009-2018,
     OFFICE OF THE ASSISTANT SECRETARY FOR PLANNING AND EVALUATION, HHS 1, 22
     (Mar. 2021), available at: https://aspe.hhs.gov/sites/default/files/migrated_legacy_
     files//199046/ED-report-to-Congress.pdf.
51
     Benson, EPL, at 2; see also Juanita Chinn, et al., Health Equity Among Black Women
     in the United States, 30(2) J. WOMEN’S HEALTH 212, 215 (2021) (“Chinn, Health
     Equity”) (explaining that “Black women are at a disadvantage regarding the protective
     factor of the early initiation of prenatal care”).



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likely to die from pregnancy-related complications.52 Women of color are also more likely

to experience EPL (or miscarriage), the standard treatment for which can include abortion,

and to visit an ED for their EPL-related care.53

       Each of these categories of women are therefore more likely to experience

emergency medical conditions when pregnant, and thus more likely to need the critical

care that the Idaho Law obstructs.

       B.      The Idaho Law Is Inconsistent with Federal Law and Undermines
               Principles of Medical Ethics

       EMTALA’s requirement that a physician must provide “stabilizing treatment [to]

prevent material deterioration” of all patients and must “act prior to the patient’s condition

declining”54 codified what was already paramount in physicians’ professional obligations.

For example, ACEP’s Code of Professional Ethics states that “[e]mergency physicians

shall embrace patient welfare as their primary professional responsibility” and explains

that it is unethical to deny or delay the provision of emergency care on the basis of “type of

illness or injury.”55 ACOG’s Code of Professional Ethics similarly states that “the welfare

of the patient must form the basis of all medical judgments” and that obstetrician-

gynecologists should “exercise all reasonable means to ensure that the most appropriate




52
     CMS, Advancing Rural Maternal, at 1; see also Chinn, Health Equity, at 215 (Black
     and Latina women “are at greater risk of poor pregnancy outcomes”).
53
     Benson, EPL at 5–7.
54
     CMS, Reinforcement of EMTALA Obligations Specific to Patients who are Pregnant
     or are Experiencing Pregnancy Loss (July 11, 2022).
55
     ACEP, Code of Ethics, at 4, 11.



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care is provided to the patient.”56 The AMA Code of Medical Ethics likewise places on

physicians the “ethical responsibility to place patients’ welfare above the physician’s own

self-interest or obligations to others.” 57   The Idaho Law’s prohibition of medically

indicated, emergency care without regard to circumstance violates long-established and

widely accepted principles of medical ethics by (1) substituting legislators’ opinions for

the necessary medical course of action as determined by a physician or health care provider

and informed by clinical standards of care; and (2) compelling physicians and health care

professionals to deny necessary emergency care in violation of the age-old principles of

beneficence and non-maleficence.

        Laws that criminalize medical care even when EMTALA and medical ethics

mandate that physicians provide it cannot be reconciled with the reality of the provision of

emergency medicine or bedrock principles of medical ethics.

IV.     CONCLUSION

        For the foregoing reasons, and those set forth by the Government, this Court should

grant the preliminary injunction preventing this dangerous law from taking effect as to

emergency medical care.




56
      ACOG, Code of Professional Ethics, at 2 (Dec. 2018) (“ACOG, Code of Ethics”).
57
      AMA, Code of Ethics § 1.1.1.



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Dated: August 15, 2022                 Respectfully submitted,

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